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                                UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA

                                       OAKLAND DIVISION


LARRY GOLDEN,                             )            Case No. 4:22-cv-05246-HSG
                                          )
   Plaintiff,                             )            [PROPOSED] ORDER DENYING
                                          )            PLAINTIFF’S CROSS-MOTION TO
v.                                        )            STRIKE
                                          )
GOOGLE LLC,                               )
                                          )
   Defendant.                             )
_________________________________________ )


   Before this Court is the Plaintiff’s Cross-Motion to Strike. After consideration of the motion and

arguments from the parties, the Court finds that it should be DENIED.



IT IS SO ORDERED.



Dated: ____________________, 2022                   _______________________________________
                                                    Honorable Haywood S. Gilliam, Jr.
                                                    United States District Court Judge




                                                                  Case No. 4:22-cv-05246-HSG
                                [PROPOSED] ORDER DENYING PLAINTIFF’S CROSS-MOTION TO STRIKE
